Case 1:01-cv-01924-CKK Document 52-1 Filed 01/16/18 Page 1 of 6




                     EXHIBIT A
   Case 1:01-cv-01924-CKK Document 52-1 Filed 01/16/18 Page 2 of 6

           Case 1:01-cv-01924-CKK Document 40 Filed 02/01/06 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 DONNA MARIE HOLLAND, et al.,

    Plaintiffs,
                                                              Civil Action No. 01-1924 (CKK)
      V.


 ISLAMIC REPUBLIC OF IRAN, et al.,

    Defendants.



                                              ORDER

       Upon consideration of Plaintiffs' Second Amended Complaint, the evidence presented at

trial, the entire record in this case, and for the reasons set forth in this Court's Memorandum Opinion

of October 31, 2005, it is, this 1st day of February, 2006, hereby

        ORDERED that the Court enters final judgment against Defendants the Islamic Republic of

Iran, the Iranian Ministry of Information and Security ("MOIS"), and the Iranian Islamic

Revolutionary Guard Corps ("IRGC"), jointly and severally, and in favor of Plaintiff Donna

Holland on Count I (Wrongful Death) of Plaintiffs' Second Am.ended Complaint for economic and

compensatory damages in the amount of $620,743.00; it is further

        ORDERED that the Court enters final judgment against Defendants the Islamic Republic of

Iran, the Iranian Ministry of Information and Security ("MOIS"), and the Iranian Islamic

Revolutionary Guard Corps ("IRGC"), jointly and severally, and in favor of Plaintiffs James

Holland and Chad Holland on Count I (Wrongful Death) of Plaintiffs' Second Amended Complaint

for economic and compensatory damages in the amount of$310,371.50 for each of them, and on

Count II (Loss of Parental Consortium) of Plaintiffs' Second Amended Complaint for economic and

compensatory damages in the amount of$12,000,000.00 for each ofthem; it is further
        Case 1:01-cv-01924-CKK Document 52-1 Filed 01/16/18 Page 3 of 6

I              Case 1:01-cv-01924-CKK Document 40 Filed 02/01/06 Page 2 of 2
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1I          ORDERED that the Clerk of the Court is to arrange for this Order to be translated into

 l   Farsi and cause a copy of the Order and translation thereof to be transmitted to the United States

     Department of State for service upon Defendants the Islamic Republic of Iran, the Iranian Ministry

     of In.formation and Security ("MOIS"), and the Iranian Islamic Revolutionary Guard Corps

     ("IRGC") through diplomatic channels.

            SO ORDERED.


                                                              Isl
                                                            COLLEEN KOLLAR-KOTELLY
                                                            United States District Judge




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Case 1:01-cv-01924-CKK Document 52-1 Filed 01/16/18 Page 4 of 6




                     EXHIBITB
    Case 1:01-cv-01924-CKK
                      Blackman Document        52-1 (D.D.C.,
                               v. District of Columbia Filed 2017)
                                                             01/16/18 Page 5 of 6



     MIKEISHA BLACKMAN, et al.,                         See Omnibus Appropriations Act, Pub. L. No.
            Plaintiffs,                                 111-8, § 814, 123 Stat. 524, 697 (2009); Allen
                      v.                                v. Dist. of Columbia, 128 F. Supp. 3d 74, 78-
    DISTRICT OF COLUMBIA, et al.,                       79 (D.D.C. 2015). In accordance with the cap,
            Defendants.                                 defendants paid the following amounts:
                                                        $4,317.35 to plaintiff Diane Blackwell;
     Civil Action No. 97-1629 (PLF)                     $4,204.70 to plaintiff Victoria Harris; and
                                                        $4,154.03 to plaintiff Dionne Timmons.
  UNITED STATES DISTRICT COURT                          Plaintiffs' Motion at 2. Under this Court's
  FOR THE DISTRICT OF COLUMBIA                          August 5, 2004 Opinion and Order, plaintiffs
                                                        are still owed the following amounts plus
               March 6, 2017                            interest: $8,576.88 to plaintiff Diane
                                                        Blackwell; $6,759.83 to plaintiff Victoria
MEMORANDUM OPINION AND ORDER
                                                        Harris; and $374.31 to plaintiff Dionne
                                                        Timmons. Defendants concede that they owe
     The matter before the Court is plaintiffs'
                                                        plaintiffs the outstanding sums, but state that
motion to revive an order for the payment of
                                                        they have paid up to the cap allowed by
money. See Plaintiffs' Motion for an Order of
                                                        Congress and cannot pay more. Defendants'
Revival of a Decree for the Payment of Money
                                                        Response at 1-2 [Dkt. 2540]. They do not,
("Plaintiffs' Motion") [Dkt. 2538]. On August
                                                        however, oppose plaintiffs' motion to revive.
5, 2004, the Court granted plaintiffs' motion
                                                        Defendants' Response to Plaintiffs' Motion for
for the payment of attorneys' fees and costs
                                                        an Order of Revival of a Decree for the
with respect to a matter brought under the
                                                        Payment of Money at 2 [Dkt. 2539].
Individuals with Disabilities Education Act
("IDEA"), 20 U.S.C. §§ 1400, et seq. (2000).
                                                             Under D.C. Code § 15-101, final
Blackman v. Dist. of Columbia, 328 F. Supp.             judgments and decrees for the payment of
2d 36 (D.D.C. 2004). The Court ordered                  money are enforceable for a period of 12 years
defendants to pay the following sums:
                                                        and may be extended or revived within that
$12,894.23 to plaintiff Diane Blackwell;                12-year period. See Mayo v. Mayo, 508 A2d
$10,964.53 to plaintiff Victoria Harris; and
                                                        114, 115 (D.C. 1986). This Court's August 5,
$4,528.34 to plaintiff Dionne Timmons. Id. at           2004 Opinion and Order - although not a
45-46.                                                  judgment or decree on its face - is
                                                        considered a judgment under D.C. Code § 15-
     At the time, Congress had placed a
                                                        101. See Allen v. Dist. of Columbia, 128 F.
permanent cap on the amount of attorneys'
                                                        Supp. 3d 74, 80-81 (D.D.C. 2015). A court
fees the District of Columbia must pay in
                                                        may issue an order of revival "during the
lawsuits brought under the IDEA. See District
                                                        period of twelve years ... from the date of the
of Columbia Appropriations Act, Pub. L. 107-
                                                        order, extend[ing] the effect and operation of
96, § 140, 115 Stat. 923, 958 (2001); Whatley
                                                        the judgment or decree . . . for the period of
v. Dist. of Columbia, 447 F.3d 814, 820-21
                                                        [an additional] twelve years from the date of
(D.C. Cir. 2006). In 2009, Congress amended
                                                        the order." D.C. CODE § 15-103. Plaintiffs
the IDEA to prohibit funds in excess of
                                                        filed their motion to revive on July 15, 2016 -
$4,000 to be paid by the District of Columbia
                                                        three weeks before the 12-year period expired
toward attorneys' fees in IDEA proceedings
                                                        on August 5, 2016. This Court may issue an
initiated before 2009, but Congress did not
                                                        order of revival after the 12-year enforcement
include a cap for future cases.
                                                        period, so long as the motion for revival is
                                                        timely- as it was here. Nat'l Bank of Wash. v.
Page 2
                                                        Carr, 829 A2d 942, 943 (D.C. 2003).




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    Case 1:01-cv-01924-CKK
                      Blackman Document        52-1 {D.D.C.,
                               v, District of Columbia Filed 2017)
                                                             01/16/18 Page 6 of 6



Page3

    There is little case law discussing D.C.
Code§§ 15-101 and 15-103 and when a court
may issue an order of revival. The D.C. Court
of Appeals has stated that courts should grant
an order of revival if the defendant offers "no
other defense or cause why the judgment
should not be revived." Id. at 945; cf. Michael
v. Smith, 221 F.2d 59, 61 (D.C. Cir. 1955).
Although it is unclear whether Congress will
ever lift the cap on attorneys' fees in lawsuits
brought under the IDEA in the District of
Columbia prior to 2009, this Court has found
no authority requiring the denial of plaintiffs'
motion on that basis. Defendants have offered
no reason why this Court should deny the
motion, and, in fact, they concede that they
owe plaintiffs the outstanding sums.

    Accordingly, it is hereby

     ORDERED that plaintiffs' motion for
revival [Dkt. 2538] is GRANTED; and it is

     FURTHER ORDERED that the period of
enforceability for the decree for the payment
of money in the Court's August 5, 2004
Opinion and Order shall be extended for an
additional period of 12 years from the date of
this Order.

    SO ORDERED.

    Isl
    PAUL            L.           FRIEDMAN
    United States District Judge

DATE: March 6, 2017




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